                           Case 18-21171-jra              Doc 11-1         Filed 08/13/18          Page 1 of 2

                                                        Notice Recipients
District/Off: 0755−2                         User: admin                            Date Created: 08/13/2018
Case: 18−21171−jra                           Form ID: B318                          Total: 61


Recipients of Notice of Electronic Filing:
tr          Stacia L. Yoon         bankruptcysylaw@comcast.net
aty         Philip Katich        gloyeskilawvalpo@hotmail.com
                                                                                                                           TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Natalie Vera Marsenic          915 East 40th Avenue          Griffith, IN 46319
cr          Synchrony Bank         c/o PRA Receivables Management, LLC                 PO Box 41021           Norfolk, VA 23541
smg         Indiana Employment Security Division             10 North Senate Street        Indianapolis, IN 46204
14347636 Alcoa Billing          3429 Regal Dr.           Alcoa, TN 37701
14347637 Ashley Furniture          1550 E. Lincoln Highway             Merrillville, IN 46410
14347639 BROADMOOR COUNTRY CLUB APARTMENTS                                 C/O TERENCE G. TRAPANE                  9111 BROADWAY
            STE DD         Merrillville, IN 46410
14347638 Broadmoor Country Club Apartments                  3944 W. 77th Place          Merrillville, IN 46410
14347642 CAREPOINTE, PC                99 E 86TH AVE             STE A         Merrillville, IN 46410
14347643 CHILDREN'S DENTAL CENTER                       7863 Broadway #111             Merrillville, IN 46410
14347644 CHOICE RECOVERY, INC                     1550 OLD HENDERSON RD STE S100                      Columbus, OH 43220−3662
14347640 Cadence Health           PO Box 739            Moline, IL 61265
14347641 Capital One          PO Box 30281             Salt Lake City, UT 84130−0281
14347645 Citicards CBNA            PO Box 6241            Sioux Falls, SD 57117
14347646 Comcast           P.O. Bo 3001           Southeastern, PA 19398
14347647 Comenity Bank/VCTRSSEC                   PO Box 182789           Columbus, OH 43218−2789
14347648 Community Care Network                 9660 Wicker Avenue           Saint John, IN 46373
14347649 Convergent Outsourcing              500 SW 7th St         Building A 100          Renton, WA 98055−2983
14347650 Discover Financial Svcs             PO Box 15316          Wilmington, DE 19850−5316
14347651 Elizabeth A. Hughes            661 Glenn Avenue            Wheeling, IL 60090
14347652 FIRST NATIONAL COLLECTION BUREAU, INC                             610 Waltham Way             Sparks, NV 89434
14347654 FRIENDLY DENTAL CARE                      C/O CHOICE RECOVERY                  PO BOX 20790            Columbus, OH
            43220
14347653 Ford Motor Company               150 West Market St.          Indianapolis, IN 46204
14347655 GALAXY ASSET PRUCHASING                        726 EXCHANGE STREET SUITE 700                     Buffalo, NY 14210
14347656 Griffith High School           600 N. Wiggs Street          Griffith, IN 46319
14347658 HSBC Card Services III Inc              c/o Portfolio Recovery         120 Corporate Blvd          Norfolk, VA 23502
14347659 HYUNDAI MOTOR FINANCE                        PO BOX 20835            Fountain Valley, CA 92728
14347657 Hammond City Court              5925 Calumet Ave.           Hammond, IN 46320
14348510 Indiana Department of Revenue               Bankruptcy Section − MS 108            100 North Senate Avenue,
            N240        Indianapolis IN 46204
14347660 Indiana Department of Revenue               PO Box 595          Indianapolis, IN 46206
14347661 Internal Revenue Service             PO Box 7346          Philadelphia, PA 19101
14347663 Jefferson Capital Systems             16 McLeland Rd          Saint Cloud, MN 56303
14347664 KOHLS DEPARTMENT STORE                        PO BOX 3115            Milwaukee, WI 53201
14347665 KOMYATTE & CASBON P.C.                      DONNA SHARP COLL DEPT.                    9650 GORDON DR             Highland, IN
            46322
14348509 Lake County Treasurer             Attention: Bankruptcy Clerk           2293 North Main Street          Crown Point IN
            46307
14347666 MEA − Munster L.L.C.               PO Box 5956          Carol Stream, IL 60197
14347667 Merrick Bank           PO Box 1500            Draper, UT 84020
14347668 Munster Radiology Group               9201 Calumet Ave.           Munster, IN 46321−2807
14347669 Nationwide Credit & Collection, Inc.             815 Commerce Dr., Ste 100            Oak Brook, IL 60523
14347670 Northstar Anesthesia of Indiana LLC              P.O. Box 1259 Dept. 92667            Oaks, PA 19456
14347671 Portfolio Recovery           120 Corporate Boulevard Suite 100             Norfolk, VA 23502
14347672 Premiere Credit of North America, LLC                PO Box 19309           Indianapolis, IN 46219
14347675 SHELTER INSURANCE COMPANIES                           PO BOX 6007            Columbia, MO 65205
14347680 SYNCB/ TOYS R US                 PO BOX 965001             Palm Bay, FL 32906
14347681 SYNCB/JC PENNEY                  PO BOX 965007            Orlando, FL 32896
14347682 SYNCB/TJX CO DC                 PO BOX 965015             Orlando, FL 32896
14347683 SYNCB/WAL−MART                     c/o PRA Receivables Management LLC               PO BOX 41021            Norfolk, VA
            23541
14347673 Santander Consumer USA                PO Box 961245           Fort Worth, TX 76161−0244
14347674 Shannon L. Noder            8001 Broadway Suite 400             Merrillville, IN 46410
14347676 Sheriff of Lake County             2293 N. Main Street         Crown Point, IN 46307
14347677 Statewide Credit Association             6957 Hillsdale Ct.        Indianapolis, IN 46250−2054
14347678 Super. Ct. Civ. Div.−Civil−Gary−RM 3−D03                  15 W. 4th Avenue           Gary, IN 46402
14347679 Superior Court Crown Point              2293 N Main St          Crown Point, IN 46307
14347684 Synergetic Communication, Inc               5450 N.W. Central #220           Houston, TX 77092−2016
14347685 THOMAS BURRIS                 8605 BROADWAY                 Merrillville, IN 46410
14347686 Tom & Sherry Orton             c/o Hammond City Court             5925 Calumet Avenue             Hammond, IN 46320
14347687 United Credit National Bank              2200 East Benson Road           Sioux Falls, SD 57104
                      Case 18-21171-jra          Doc 11-1      Filed 08/13/18       Page 2 of 2
14347688   Woodforest National Bank       PO Box 7889      The Woodlands, TX 77387
14347689   Xfinity      844 169th Street     Hammond, IN 46324−2036
14347662   iQuantified Management Services     2821 S. Parker Road Suite 305    Aurora, CO 80014−2748
                                                                                                        TOTAL: 59
